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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


UNITED STATES SECURITIES AND
EXCHANGE COMMISSION,

                       Plaintiff,

       v.                                                Civil Action No. 3:15-cv-675 (JBA)

IFTIKAR AHMED,

                       Defendant, and

IFTIKAR AHMED SOLE PROP; et al
                                                        November 30TH, 2019
                       Relief Defendants.


     DEFENDANT’S RESPONSE IN OPPOSITION TO THE “THIRD INTERIM
    APPLICATION FOR PROFESSIONAL FEES AND EXPENSES INCURRED BY
          THE RECEIVER AND HIS PROFESSIONALS” [DOC. #1330]


       The pro se Defendant submits this Response in Opposition [“Third Opposition”] to the

Receiver’s “Third Interim Application for Professional Fees and Expenses Incurred by the

Receiver and his Professionals.” [Doc. #1330, or the “Third Application”]. The Defendant

reserves all rights to all issues and fully incorporates his prior Oppositions [Doc. #1183 or the

“First Opposition”] and Sur-Reply [Doc. #1222-1 or the “Sur-Reply”]; and [Doc. #1261 or the

“Second Opposition”] to the Receiver’s First Application for Fees and Expenses [Doc. #1160 or

the “First Application”] and the Receiver’s Second Application for Fees and Expenses [Doc.

#1249] into this Opposition.

       The Court must deny the Third Application for the same reasons as the Defendant

outlined in his First and Second Oppositions to Receiver’s First and Second Fee Application: the

Receiver’s fees are excessive, duplicative, unreasonable and unjustified; the Receiver has not

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provided any benefit at all to the Receivership Estate to justify such excessive and unjustified

expenses but instead has caused substantial losses to the Estate by way of hundreds of thousands

of dollars; the Order Appointing Receiver is under appeal; the Receiver is proven beyond any

reasonable doubt to be a biased party and an agent of the Plaintiff; the Court has no jurisdiction

to impose additional penalties on the Defendant alone and thus create a perverse incentive by

paying the Receiver out of funds or assets above the judgment amount; it is inequitable for the

Court to pay a Receiver who solely benefits the public (and not the Defendant) out of funds

belonging to the Defendant when the Court has repeatedly denied funds for counsel to the

Defendant (in violation of his due process rights) and even for his medical treatment for cancer

despite the Receiver’s own confirmation of tens of millions of dollars of assets over and above

the judgment amount.

       The Defendant reserves all rights to all issues and does not waive any right by way of this

Third Opposition or his earlier Second Opposition, his earlier First Opposition or Sur-Reply.



I.     FIRST OPPOSITION AND SUR-REPLY AND SECOND OPPOSITION.

       The Defendant incorporates his complete First Opposition [Doc. #1183] and Sur-Reply

[Doc. #1222-1], and his complete Second Opposition [Doc. #1261] into this Third Opposition.

For the convenience of the Court, the Defendant does not repeat the arguments here (and fully

incorporates those arguments from his First and Second Oppositions and his Sur-Reply, and

refers the Court to his First and Second Oppositions and his Sur-Reply), but the Defendant

opposes the Receiver’s Third Application for the same reasons as outlined in his First Opposition

and Sur-Reply and his Second Opposition and also addresses additional reasons in this Third

Opposition.



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II.    THE RECEIVER’S FEES ARE NOT JUSTIFIED IN THIS CASE.

        The Defendant incorporates and reiterates his position that a Receiver was not needed in

this instant case and the Receiver’s Fees are not justified in this case [First Opposition at 1-7;

Second Opposition at 2-5]. As the Defendant further explains in this Third Opposition, the

Receiver has created no economic benefit to the Estate during the time period under the Third

Application, but has rather cost the Estate a substantial amount of money and the Court must

look at attorney’s fees as a loss to the Estate.1

        “[A]mong the factors considered by the Court in exercising its discretion to determine the

appropriate award of fees is the cost-efficiency of the Receiver's work in terms of assets

recovered for victims, see SEC BILLING INSTRUCTIONS at 26, “the complexity of problems faced,

the benefits to the receivership estate, the quality of the work performed, and the time records

presented,” SEC v. Fifth Ave. Coach Lines, Inc., 364 F. Supp. 1220, 1222 (S.D.N.Y. 1973).” See

SEC v. Illarramendi, Civil No. 3:11CV78 (JBA), at *3 (D. Conn. Dec. 5, 2013). Under these

factors, the Receiver’s fee request is outrageously excessive and unjustified.

        First, the Receiver did not have to recover any assets for the alleged victim, as by his

own admission the value of the frozen assets greater than the Judgment amount by tens of

millions of dollars [Doc. #1330-5 at 6].

        Second, as the Defendant has made clear, there is no complexity in managing assets that

are mostly liquid and real estate (and additional assets that are managed by others) and that are

tens of millions of dollars above the Judgment amount. Yet, the Receiver astonishingly invoices

over $40,000 to the Defendant and has done nothing to provide any economic benefit to the

Estate during this time. The Receiver has not provided any benefit to the Estate during this time,

1
 “…receivership… where the goal is…to manage the estate in such a way as to maximize recovery while
minimizing loss, including losses caused by attorney's fees.” (emphasis in original) See SEC v. Aquacell
Batteries Case No. 6:07-cv-608-Orl-22DAB, at *9 (M.D. Fla. Jan. 31, 2008)
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but has rather lost substantial value to the Estate by way of requesting his excessive and

unjustified fees, by being reactive rather than proactive and by continuing to oppose actions that

would add value to the Estate. Defendant delves into this further, but the Receiver has spent an

astonishing 40 hours2 and billed nearly $10,000 – over 25% of the total invoice – for matters

concerning the eviction of the illegal tenant in Apartment 12F owned by the Relief Defendants.

Had the Receiver addressed this matter prior to the expiration of the lease, the Estate would not

have bear the additional expenses of: (1) non-payment by the illegal tenant; (2) additional

attorney fees – by the Relief Defendants and the Receivership Estate to deal with this issue; and

(3) additional attorney fees to employ someone to deal with the eviction process. By way of

another example, the Receiver has spent yet an additional 10 hours and billed over $2,300 for

matters concerning the transfer of the Harry Winston earrings by the Relief Defendants’ former

counsel. Again, this issue should have been dealt with when the Receiver was first appointed

rather than nearly a year later. By way of yet another example, the Receiver, having been alerted

to unauthorized trades in Ms. Ahmed’s Fidelity accounts, scrambles to determine what has

happened and belatedly confirms the no-trade status with the various firms. The Receiver has

spent an additional twelve (12) hours and billed nearly $2,700 on this issue. The Receiver

should have confirmed the no-trade status for the accounts right after his appointment. This has

cost the Estate by way of (1) trading fees and commissions; and (2) lost income by way of

dividend payments from that investment, not including any attorney fees spent on this issue.

        It is clear – simply by these three examples alone during this Compensation Period – that

the Receiver has created extreme inefficiency around the management of the assets and the



2
 In all instances in this Opposition where Defendant provides hours and costs, the Defendant has
eyeballed the invoice entries and has estimated these hours and amounts based on the description in the
various line items of the four invoices submitted and reserves the right to update them if new information
emerges.
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Estate and that has cost the Estate significantly by way of additional fees and waste of time and

resources of all parties involved.

        Third, the Receiver and his counsel continue to double bill on their time records, continue

to be inefficient with the management of their time in this matter, and continue to invoice the

Defendant for matters that are premature to deal with at this time. The Defendant provides his

objections to the time records throughout this Third Opposition and gives additional detail in

SECTION IX of this Third Opposition, titled “SPECIFIC ITEMS AND/OR GROUPS OF ITEMS.”

        It is clear that the Receiver has done nothing during the Third Application that has

provided any economic benefit to the Estate – rather he has created significant loss to the Estate

during this time – and his application for fees must be denied on this basis alone.


III.    THE RECEIVER’S FEES CONTINUE TO BE EXCESSIVE RELATIVE TO THE
        DUTIES PERFORMED.

        The Defendant incorporates, reiterates and adds to his argument that the Receiver’s Fees

are Excessive for the Duties Performed [First Opposition at 8-10; Second Opposition at 5-8]. It

is well known that the Receiver and his hired professionals “must exercise proper billing

judgment in seeking fees from the receivership estate, and should limit their work to that which

is reasonable and necessary.”3 The Receiver has not only improperly billed the estate, but he has

performed work that is unnecessary and frivolous only to further invoice the Defendant.

        First, any increase in the value of assets under the Receivership is a direct result of the

investment decisions made by parties’ other than the Receiver (such as the Defendant and Relief

Defendant Ms. Ahmed) and that were put into place years prior to any asset freeze. The Receiver

just cannot take any credit for any increase in the value of assets during this (or any other) time


3
  Aquacell Batteries, 2008 WL 276026, at *2. (“Part of ‘determining the nature and extent of the services
rendered’…includes an analysis as to the reasonableness of the services rendered,” and the expenses for
which reimbursement is sought must have been “actual and [] necessarily incurred.”).
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period. If anything, the Receiver’s mismanagement of assets in this Estate has cost the Estate

significantly. For example, the continued insistence of the Receiver to refuse to rent out

Apartment 12A, owned by the Relief Defendants, has cost the Estate an astonishing $420,000 as

of the date of this submission. Apartment 12A has been vacant since October 1, 2018 and upon

information and belief, had various tenants interested in renting the apartment. However, the

SEC and the Receiver have continued to refuse to rent the apartment, leading to a significant loss

in income to the Estate. Assuming $30,000/month in rental income since October 1, 2018 to

December 1, 2019 yields a loss of $420,000 (and counting!) plus any interest earned on those

funds, for just Apartment 12A alone.

       Second, the Receiver’s invoiced amount of nearly $40,000 is excessive in a situation

where there are mostly liquid and near-liquid assets frozen, where there is no real active

management that needs to happen and where there are tens of millions of dollars of assets frozen

above the judgment amount.

       These invoices are all clearly unrealistic and excessive and a complete and

unnecessary drain on the Estate assets with no corresponding value produced. If anything,

the Receiver has cost the Estate significant monetary value that is unjustified and

unbelievable. There is no question that the Defendant would have fired the Receiver by

now for his mismanagement of the Estate, given the amount of losses incurred by the

Receiver’s actions (and non-actions).

       Third, it is clear that the Receiver is inefficiently managing the Estate and is running it

into losses. Indeed, the loss of rental income from keeping Apartment 12A vacant, the additional

expenses and non-rental received from Apartment 12F and the unnecessary expenses related to

the (yet to happen) transfer of Harry Winston earrings translate into a significant amount of loss



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to the Estate – to the amount of well over $500,000 – not even accounting for attorney fees to

deal with all of these issues.

         Fourth, the Receiver does not know how to manage these assets. Indeed, he should have

dealt with the Apartment 12F situation before the lease expired (and had ample opportunity to

do, but chose to ignore it, as Defendant explains later in this Opposition); he should have insisted

in January and February of this year for the transfer of Harry Winston earrings instead of

completely dropping the ball on that transfer in the beginning of his appointment; and he should

have (and still should) agree to rent the Apartment 12A, at least during the duration of the stay of

liquidation4 pending Supreme Court decision in Liu. In addition, the Receiver should have

confirmed the no-trade status of the various accounts when he was first appointed and not after

an unauthorized trade was made. By not dealing with these issues in a timely and proactive

manner, the Receiver has caused the Estate to incur unacceptable losses and fees – to the amount

of well over $500,000.

         Fifth, he Receiver is content to simply sit back and collect fees for doing nothing. It was

Defendant, when he was aware of the situation, who alerted the Court and the Receiver as to the

unacceptability of the illegal tenant in Apartment 12F; it was the Defendant who alerted the

Receiver into the inappropriateness of Harris St. Laurent continuing to retain control over the

Relief Defendants’ Harry Winston earrings; it was the Relief Defendants who alerted the

Receiver as to the unauthorized trades and it is the Relief Defendants who are asking for the

apartments to be rented. Indeed, the Receiver is sleeping on the job and only when prodded to

and insisted by the Defendant (and Relief Defendants) to manage these assets in a manner

befitting the Estate, does he all of a sudden “wake up” and try to rectify the situation. By being



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    Doc. #1346
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reactive instead of proactive, the Receiver, who has no experience managing these assets

(contrary to the Defendant and the Relief Defendants), has caused the Estate a significant loss.

        Sixth, the Receiver continues to simply outsource the administration of the Estate to his

counsel, who are charging exorbitant fees. As the Defendant has already explained in his prior

Oppositions, the Receiver is providing legal services to himself. As such, there is no need for

additional counsel for the Receiver, who is himself a lawyer and providing legal services.

Indeed, the Defendant, who is pro se, has been denied counsel throughout this entire litigation

and has had to be and continues to be pro se. It is just outrageously inequitable for the Court to

provide counsel to the Receiver (a lawyer with many decades of experience) and pay them (and

him) from the Defendant’s assets when the Court has denied the Defendant (who has no legal

background at all) the use of his own legally earned funds for the retention of counsel for

himself. It is clear that the Receiver is content to do nothing, as his hours are not even 2%5 of

the total hours incurred and his amount invoiced is less than 2% of the total invoices. It is simply

inequitable and outrageous that the Receiver, who is an attorney himself, would (1) have counsel

and (2) outsource all of his work to his counsel.

        Seventh, the Defendant is pro se and explains his opposition to certain groups or

classifications of the Receiver’s Fee Application throughout this Third Opposition, but also

specifically in SECTION IX of this Third Opposition, which is titled “SPECIFIC ITEMS AND/OR

GROUPS OF ITEMS.” This opposition to certain classifications or groups does not waive the

Defendant’s position that the Receiver’s fees should be substantially reduced, but as in the First

Opposition and the Second Opposition, is an addition to help the Court in understanding the




5
 The Receiver is 2.9 hours of the total 165.5 hours. The Receiver has billed $725 out of nearly $40,000.
[Doc. #1330 at 3].
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Defendant’s opposition to the payment of Receiver fees as requested in the Third Application.



IV.     THE RECEIVER’S FEES MUST BE PAID FROM THE JUDGMENT AMOUNT
        AND THE ORDER IS UNDER APPEAL.

        The Defendant reiterates his position [First Opposition at 11-14; Second Opposition at 8-

9] that if the Court believes that the Receiver should be paid his fees, then they must be paid

from within the Judgment amount and not be an additional penalty on the Defendant. It also

renders a preserve incentive – as has already been depicted – whereby “the possibilities for abuse

[are] limited only by the size of the estate” SEC. v. Northshore Asset Mgt., 05 Civ. 2192 (WHP),

at *3 (SDNY Sep. 29, 2009).

        As the Defendant has also already stated, it is highly inequitable for the Court to be

paying the Receiver from the Defendant’s legally earned funds when the Defendant himself has

been denied the use of those funds for his own purposes,6 including for the retention of counsel.

        Not only that, the Receiver Order (and additional rulings) are under appeal [First

Opposition at 14-15; Second Opposition at 8-9] and appellate rulings and a ruling in the Supreme

Court case Liu v. SEC could very well render a different outcome than the current situation. Not

only would the Receiver be personally liable for the management of assets above the judgment

amount (and the judgment could be reduced materially based on the appellate courts’ rulings and

now the Supreme Court’s review of disgorgement in Liu), the appellate courts could rule that the

Receiver must be paid from within the Judgment amount for reasons including but not limited to:

the Receiver does not represent the Defendant’s interests.




6
  See Almeida v. Holder, 588 F.3d 778, 788 (2d Cir. 2009) (“The rights and benefits of property
ownership are, after all, many... [T]hey include not only the right to actual possession of a thing, but also
the right to exclude others from possessing it, the right to use it and receive income from its use, the right
to transmit it to another...”).
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V.     THE RECEIVER IS A BIASED PARTY AND DOES NOT REPRESENT THE
       DEFENDANT, BUT RATHER HAS IRREVERSIBLY HURT AND DAMAGED
       THE DEFENDANT’S INTERESTS.

       The Receiver continues to be a partial party in this matter. The Defendant incorporates

and reiterates his position [First Opposition at 18-22; Second Opposition at 9-12] that the

Receiver is not a neutral party, contrary to his mandate and the reason why a Receiver is

appointed.

       First, the Receiver does not inquire to the Defendant’s position on various matters as they

do with the SEC prior to the Receiver submitting his responses to various motions. In addition,

the Receiver continues to take positions that are directly contrary to the Defendant’s (and the

Estate’s) interests during this time period covering the Third Application. It is simply

inequitable to force the Defendant to pay for someone who takes an adverse position to his

own interests. For example, the Receiver has opposed Defendant’s Emergency Motion to Stay

in Light of Liu v SEC Petition for Writ of Certiorari [Doc. #1216], which directly harms the

Estate as any liquidation prior to final resolution of this matter is irreversible and leads to

additional loss [Doc. ##1178, 1180, 1182; Doc. #1209-1]. The Receiver has also opposed the

Relief Defendants’ Emergency Motion to Immediately Rent the two NYC Apartments [Doc.

#1220] which has led to a loss of over $500,000 (and counting) in rental income to the Estate.

The Receiver has opposed the Defendant’s Motion for Leave to File/Continue Arbitration [Doc.

#1225] when such would only benefit the Estate by adding additional assets to the Estate. The

Receiver’s Opposition to these issues makes it clear that he does not know how to manage or

maximize the value of the Estate, which has led to a significant loss to the Estate.

       Second, the Receiver continues to have discussions with the SEC, the Defendant’s

adversary in this case, on various issues in this matter and on updates regarding the Estate. Yet,

the Receiver does not have these discussions with the Defendant and indeed, it is the Defendant
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(and the Relief Defendants) who are monitoring the assets and who are in touch with the

Receiver. The Defendant should not be paying for the Receiver’s conversations with the SEC.

Until this Court orders otherwise, the Defendant has every right to review and opine on the

Receiver’s fees, especially as the Court has not released any funds that Defendant legally earned

that are above the judgment amount for Defendant to retain legal counsel for himself in any of

his matters, but is instead using the Defendant’s own legally earned funds – which Defendant

strongly opposes – to pay the Receiver who does not in any way benefit the Defendant.

       It is telling that the Receiver has not once discussed any issue with the Defendant and it

is instead the Defendant reaching out to the Receiver.


VI.    THE SEC’S SUPPORT FOR RECEIVER’S PAYMENT MUST BE IGNORED.

       The Defendant incorporates and reiterates his position [First Opposition at 15-18 and

Second Opposition at 12-13] that the SEC’s support for payment to the Receiver must be

ignored. Typically, "[O]pposition or acquiescence by the SEC to the fee application will be

given great weight." Byers, 590 F. Supp. 2d at 644 (quoting First Ave. Coach Lines, 364 F. Supp.

at 122). However, courts have stated that “[N]o statute compels such a conclusion, however, nor

do[es] [the Court] believe such great deference is warranted in this instance.” In re Alpha

Telcom, Inc., No. CV 01-1283-PA, at *6 (D. Or. Oct. 27, 2006).

       This Court should decline to give any weight to the SEC’s opinion in this Third Fee

Application, as the SEC’s opinion should be considered only in a situation where the amount of

assets collected is less than judgment amount or if this Court reimburses the Receiver from funds

encompassed within the judgment (within the $64.4MM amount). Otherwise, only the Defendant

and the Relief Defendant’s opinion must be given “entire weight,” if any payment is coming

from them and their assets above the judgment amount.

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        As in the First Application and the Second Application, the Receiver has confirmed

“[T]he Commission does not object to the relief sought herein” [Third Application at 2]. This is

to be expected, given the Court’s rulings that simply incentivize the SEC to “rubber-stamp” the

Receiver’s Fee Applications. The Court must decline to give any weight to the SEC’s opinions

on this Application.


VII.   THE RECEIVERSHIP MUST BE TERMINATED IMMEDIATELY.

        The Defendant incorporates and reiterates his position [First Opposition at 22-26 and

Second Opposition at 13-14] that the Receivership must be terminated immediately. The

Defendant has expressed multiple times that the Receiver was not needed in this case and the

Receiver is “costing” the Estate money, not generating the Estate any value. It is clear during the

time period covering this Third Application that the Receiver has no idea of how to manage these

assets and his inaction has cost the Estate significantly, indeed rendered a significant loss by his

inability to deal in a timely and proactive manner with the illegal tenant in Apartment 12F prior

to the expiration of the lease, the Harry Winston earrings and the secureness of the various

accounts.

        Indeed, it is this Court that has stated that “fees requested are justified by the net

economic benefit that they will provide to the estate.” SEC v. Illarramendi, Civil No. 3:11cv78

(JBA), at *1 (D. Conn. Jan. 16, 2014). The Court must also look at the Receiver’s fees as a loss

to the Estate.7 There was absolutely NO economic benefit to the Estate during this period –

indeed, there were only significant and unnecessary expenses that the Receiver imposed on the

Estate and significant losses by the Receiver’s actions/non-actions.


7
 “…receivership… where the goal is…to manage the estate in such a way as to maximize recovery while
minimizing loss, including losses caused by attorney's fees.” (emphasis in original) See SEC v. Aquacell
Batteries Case No. 6:07-cv-608-Orl-22DAB, at *9 (M.D. Fla. Jan. 31, 2008)
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       The Defendant will go into more detail in SECTION IX titled “SPECIFIC ITEMS AND/OR

GROUPS OF ITEMS” of this Third Opposition, but significant examples are:

       (i)     The billing to the Estate of dealing with the illegal tenant in Apartment 12F is
               excessive and outrageous and would not have been incurred if the Receiver had
               dealt with the tenant prior to the expiration of the lease in July 2019. This
               amount is nearly $10,000 in expenses to the Estate, not including the amount
               billed by the eviction attorney Mitofsky, Shapiro, Neville & Hazen, LLP
               (“MSNH”) and not including any amount spent by the Relief Defendants’
               attorneys on this issue. In addition, there is a loss of rental income as the illegal
               tenant has not paid any rent since July 2019.

       (ii)    The billing of nearly $7,000 for the Receiver to brief the Defendant’s motion for
               the Receiver’s termination from this matter. Such is a business expense for the
               Receiver to justify his continued appointment as Receiver and has nothing to do
               with managing the Estate. This amount spent on this briefing by the Receiver is
               excessive and egregious, and must be removed from the invoicing. Just as the
               Receiver cannot bill for any work done on his Fee Applications, so too the
               Receiver cannot bill for any work done to justify his continued appointment as
               that is a business expense for the Receiver and not for the Estate.

       (iii)   The continued unnecessary billing of over $4,200 for tax issues when the
               Receiver has already concluded that “based upon the dollar amount and limited
               nature of the Receiver Estate… that he had no obligation to submit tax returns on
               behalf of the Defendant… [and] had no obligation to submit tax returns on behalf
               of the Relief Defendants or other taxable entities that are Receivership Assets.”
               [Doc. #1330 at 21]

       (iv)    The billing to the Estate of dealing with the transfer of the Harry Winston earrings
               is also excessive and should have been dealt with at the outset of the
               Receivership. It should not be that the Defendant has to alert the Receiver as to
               the physical transfer of those Earrings. This amount invoiced by the Receiver on
               this issue is nearly $2,400 and could have been substantially lower or even non-
               existent had the Receiver dealt with this issue months earlier.

       (v)     The billing to the Estate of dealing with the unauthorized trades in Ms. Ahmed’s
               Fidelity accounts. As soon as the Receiver was appointed, he should have
               confirmed that no trades of any kind could be effectuated in any account.
               However, the Receiver clearly “dropped the ball” and had to scramble after the
               fact to ensure compliance with Court Order. This amount is nearly $2,700 and
               could have been substantially lower had the Receiver confirmed compliance with
               Court Order as soon as he was appointed.

       (vi)    The billing to the Estate to oppose renting the two Relief Defendant apartments.
               The Receiver has billed nearly $1,700 for this. This amount does not include any
               amount of “lost rental income” from the vacancy of Apartment 12A and the
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               continued non-payment from the illegal tenant in Apartment 12F – which together
               is an additional amount over $500,000 (and counting) in lost rental income
               “billed” to the Estate (and this does not even include any interest on these
               amounts).


        Just these examples alone are over 70% of the total invoice amount requested in the

Third Application. Indeed, the loss to the Estate by not renting out the apartments and keeping an

illegal tenant in Apartment 12F beyond the expiration of the lease and without the consent or

knowledge of the Defendant and the Relief Defendants is substantial. That the Receiver

blatantly condones such significant loss to the Estate – over $500,000 to date and counting, while

shamelessly asking for his fees is glaring mismanagement of assets. The fact that the Receiver

even billed for these actions shows the mismanagement and abuse that ensues with the

appointment of a Receiver whereby “the possibilities for abuse [are] limited only by the size of

the estate.” SEC. v. Northshore Asset Mgt., 05 Civ. 2192 (WHP), at *3 (SDNY Sep. 29, 2009).

This Court should not allow that to happen.


VIII.    IN THE ALTERNATIVE, IF THIS COURT IS INCLINED TO GRANT FEES
         TO THE RECEIVER, IT MUST REDUCE THE FEES SUBSTANTIALLY AND
         IMPOSE A 100% HOLDBACK UNTIL ALL APPEALS ARE CONCLUDED.

        The Defendant believes that the Receiver should not be paid at all. Or that if he is paid,

he should be paid from within the Judgment amount and by those parties who are benefiting

from the Receiver – namely the Judgment and/or the SEC.

        In this Third Opposition, the Defendant incorporates and reiterates his position in the

First and Second Opposition [First Opposition at 26-29; Second Opposition at 14-15] that “if this

Court is inclined to grant the Receiver’s fees (which the Defendant vehemently opposes), the

Court should apply a minimum of a [70]% discount to the requested fees and withhold 100% of

the amount” as Courts have discretion to award the amount of compensation that can or will be

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awarded to a court-appointed receiver. See SEC v. Byers, 590 F. Supp. 2d 637, 644 (S.D.N.Y.

2008); United States v. Code Prods. Corp., 362 F.2d 669, 673 (3d Cir. 1966). For the Third

Application, the Defendant states that there should be a 70% reduction in the requested fees (as

opposed to the 50% reduction in the earlier Applications) and the Defendant details this further

in Section IX of this Opposition.

       The Court should also hold any payment to the Receiver in abeyance until the final

conclusion of this matter when all appeals have been heard (if the Court keeps the Receivership

that long), as even the Receiver himself stated that “[O]verall results can be determined only at

the conclusion of the Receivership Proceeding.” [Doc. #1330 at 27] This case does not justify

the award of fees or expenses to the Receiver until any benefit that the Estate receives from him

is determined. So far, the Receiver has only incurred substantial losses to the Estate.

       Courts have allowed the “Receiver [to] apply for those fees at the conclusion of this

litigation. Withholding fees until the conclusion of the lawsuit assists the Court in achieving its

continuing goal of preserving funds held in the receivership estate for the compensation of the

investors. This approach is common in SEC civil enforcement actions because it allows the

Court to withhold fees until it is absolutely clear that a receiver’s efforts will ultimately benefit

the receivership estate. See SEC v. Byers, 590 F. Supp. 2d at 648. The Court derives the authority

to award such reduced fees from its power to “fix the compensation” of receivers and their

attorneys. Drilling, 69 F.2d at 418.” SEC v. Small Bus. Capital Corp. Case No. 5:12-CV03237

EJD, at *4 (N.D. Cal. Aug. 7, 2014). As such, the Court should wait until the conclusion of all

appeals before any fees or expenses are awarded to the Receiver so that any net economic benefit

(if any) from the Receiver’s actions can be determined and assessed.




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IX.    SPECIFIC ITEMS AND/OR GROUPS OF ITEMS ON EXHIBITS TO THE
       THIRD APPLICATION.

       As in his First and Second Oppositions, the Defendant contests all of the Receiver’s bills

in his Third Opposition, but because he is pro se and uncertain of the proper procedure regarding

line items, the Defendant only gives some examples below to support his opposition of the

payment of any fees or expenses to the Receiver. Should the Court request a line item audit by

the Defendant, the Defendant would provide such to the Court. The Defendant reserves the right

to bring additional issues on these invoices and exhibits, or any other matter regarding the

Receiver’s applications for fees and expenses, to the Court’s attention at a later date in time.



       1.      Doc. #1330-3, or Exhibit C:

       First, as in his First and Second Oppositions, the Defendant opposes all items in Doc.

#1330-3 or Exhibit C in this Third Opposition. These items that the Receiver is looking to have

reimbursed include: PACER expenses, online research expenses, Federal Express expenses,

service fee, copying expenses, travel charges, postage, and conference call expenses.

       With respect to PACER and online research expenses, the Receiver does not explain what

documents he accessed from PACER and what online research resulted in these invoices.

Further, as indicated in the emails transmitting electronic filings in this case, the PACER system

permits parties to download for free a copy of all case-related documents. Further, the Court

denied the same relief that the Defendant requested toward payment of a $28.50 PACER bill,

stating that “[S]hould Defendant desire the additional benefit of viewing documents in other

cases or viewing documents in his case multiple times, he must bear that expense himself.” [Doc.

#773]. The Court must treat the Receiver the same way.




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       Second, the Receiver does not specify the need for such other services, such as copying.

In addition, because this Court also denied Defendant any amount for travel expenses, any aid

with conference call expenses and any aid with any of his attempts to litigate this case, any and

all expenses that the Receiver is requesting reimbursement for on Exhibit C (Doc. #1330-3) must

also likewise be denied or removed. The denial of these same or similar expenses for the

Defendant has severely prejudiced the Defendant and has adversely impacted him as he was not

able to properly litigate his case(s). The Court cannot allow the reimbursement of these expenses

to the Receiver.


       2.      Doc. #1330-4, or Exhibits D-1 to D-5:

       First, as in the First and Second Fee Applications, there are multiple errors in the

invoicing in this Third Application wherein the same activity is being billed twice by the same

person. Defendant provides several examples below:

       (i)     See DAA entry on 7/25/19 “TelCon with D Duksa re Essell Farm; email re same”
               for 0.30 hours versus DAA entry on 7/25/2019 “Email to D Duksa re request and
               Receiver’s response” for 0.10 hours [Doc. #1330-4 at 3]

       (ii)    See CHB entry on 7/25/19 “Draft follow up correspondence to Iftikar Ahmed re
               request for arbitration documents” for 0.10 hours versus CHB entry on 7/25/2019
               “Exchange correspondence with Iftikar Ahmed re request for documents relative
               to motion to lift stay, discuss with SMK” for 0.30 hours [Doc. #1330-4 at 4]

       (iii)   See SMK entry on 8/14/19 “Email tenants offer to Knag and Ahmed” for 0.10
               hours versus SMK entry on 8/14/19 “Email update on tenant to Knag and
               Ahmed” for 0.10 hours [Doc. #1330-4 at 19]


       These items must be reconciled and only billed once. You cannot have the same person

billing twice for the same action on the same invoice and the fact that this occurs multiple times

is simply evidence of the mismanagement by the Receiver.




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        Second, and already addressed in the First and Second Oppositions, the Receiver does not

explain why two people were needed on any conversation with other parties such as the SEC or

the Relief Defendants, and why two attorneys were needed for any communication, meeting, or

discussion with any other party. Courts have reduced fees by the amount charged for other

people who attended a conversation, hearing or dealt simultaneously with the same issue. See In

re 29 Brooklyn Avenue, LLC, US Bankruptcy Court, EDNY, April 27, 2016 (reducing fees paid

when more than one attorney was present). Assuming no more than one person was required,

given at least two attorneys were always doing the same work, the fee total must be reduced by

at least 50% if not more for this reason alone.

        This continues to be concerning as the Receiver himself testified that his firm would not

“double-bill, even if it’s legitimate double-billing, in the sense of if two of us are dealing with

the same issue we only bill for one person’s time” [Doc. #1043 at 24:17-19, “Nov 28 Hr.

Trans.”]; and yet when the bills are submitted, the Invoices show the exact opposite of what he

said.

        As in the Receiver’s First and Second Applications, there are multiple instances of bills

for multiple attorneys for the same issue (each meeting, conference call, etc.), in the Third

Application, but the Defendant provides just a few examples8 for the Court’s benefit below:


        (i)     See SMK entry on 7/2/19 “Attention to various matters” for 0.30 hours versus
                CHB entry on 7/2/19 “Discuss outstanding receivership issues with SMK” for
                0.20 hours [Doc. #1330-4 at 2]

        (ii)    See SMK entry on 7/30/19 “Attention to email from Paul Knag re: apartment 12F
                and consequence of holdover tenant; draft and email extensive response;
                Telephone conference with Paul Knag re: how to proceed with tenant” for 0.60
                hours versus CHB entry on 7/30/19 “Attention to 12F unit, including exchange

8
  Should the Court want a line-by-line audit of each time that an entry is being charged twice by the same
individual, being double or triple billed as well as any further vague entries, Defendant would be happy to
provide such for the benefit of the Court.
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               correspondence from PK regarding management of 12F unit, discuss with SMK
               and PK re same…” for 1.10 hours [Doc. #1330-4 at 17]

       (iii)   See JED entry on 7/30/19 “Attn. to issues raised by emergency motion to
               terminate receivership” for 0.60 hours versus SMK entry on 7/30/19 “Read
               emergency motion to terminate receiver; analyze and strategize re: same” for 0.80
               hours [Doc. #1330-4 at 4]

       (iv)    See SMK entry on 7/31/19 “Attention to Ahmed’s motion for the immediate
               removal of Attorney Horwitt as receiver, and develop response” for 0.50 hours
               versus CHB entry on 7/31/19 “Review motion to terminate receiver (.4), discuss
               with SMK (.4)…” for 5.50 hours [Doc. #1330-4 at 4-5]

       (v)     See SMK entry on 8/20/19 “Further attention to issues related to Ahmed motion
               to terminate receivership” for 0.80 hours versus CHB entry on 8/20/19 “Discuss
               further response to Iftikar Ahmed motion to terminate receivership with SMK”
               for 0.10 hours

       (vi)    See SMK entry on 9/24/19 “Attention to issues with Ahmed’s stay motion in light
               of claims made” for 0.20 hours versus CHB entry on 9/24/19 “Discuss
               outstanding receivership issues with SMK” for 0.20 hours

       (vii)   See SMK entry on 9/30/19 “Strategize re: various issues (eviction action, earrings,
               Northern Trust account)” for 0.30 hours versus CHB entry on 9/30/19 “Discuss
               outstanding receivership issues with SMK” for 0.30 hours


       Third, there are vague entries in the invoices whereby the Defendant does not know what

was done or discussed and Defendant provides several below by way of example:

       (i)     See SMK entry on 7/2/19 “Attention to various matters” for 0.30 hours

       (ii)    See CHB entry on 7/2/19 “Discuss outstanding receivership issues with SMK” for
               0.20 hours

       (iii)   See SMK entry on 8/28/19 “Further attention to miscellaneous pending matters”
               for 0.20 hours

       (iv)    See CHB entry on 9/18/19 “Attention to outstanding receivership issues,
               discussion with SMK re: same” for 0.30 hours

       (v)     See CHB entry on 9/24/19 “Discuss outstanding receivership issues with SMK”
               for 0.20 hours

       (vi)    See CHB entry on 9/30/19 “Discuss outstanding receivership issues with SMK”
               for 0.30 hours
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        Courts have reduced fees awarded by 75% due to such vague entries. “Such vague

entries warrant a reduction because they fail to provide “an adequate basis upon which to

determine the reasonableness of the services and hours expended on a particular matter.” Tucker

v. Mukasey, supra, 2008 WL 2544504 at *1.” See Spalluto v. Trump International Hotel Tower,

04 Civ. 7497 (RJS) (HBP), at *21 (S.D.N.Y. Aug. 29, 2008), reducing attorney’s time by 75%.

“It is well settled that supporting documentation for attorney's fees must be of sufficient detail

and probative value to enable the court to determine with a high degree of certainty that the

billing is reasonable.” Yelton v. PHI, Inc., No. 09-3144, 2012 WL 3441826, at *8 (E.D. La. Aug.

14, 2012) (internal quotations omitted). Litigants who submit vague fee applications “take their

chances” that those entries will be disallowed. League of United Latin American Citizens No.

4552 v. Roscoe ISD, 119 F.3d 1228, 1233 (5th Cir. 1997) (citing Louisiana Power & Light, 50

F.3d at 327).

        Fourth, the Receiver’s attorneys continue to charge for travel time. As they are providing

a public service, the Receiver and his counsel should not be paid for travel time.9 See CHB entry

on 8/23/2019 “Travel (including traffic) to/from and tour/check-in on Essell Farm property in

Ancram, NY” for 4.5 hours [Doc. #1330-4 at 11-12] and See DAA entry on 9/15/2019 “Travel

to/from office to issue check; pmt deadline 9/15…” for 1.00 hours [Doc. #1330-4 at 28] – this is

a total of nearly $650 that has unnecessarily been billed to the Defendant. The Court should




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  Just as the Receiver has not billed for travel time in another Receivership, he should voluntarily waive
all travel expenses and charges in this case. “In order to minimize expenses to the Receivership Estate,
the Receiver and Z&Z have not requested reimbursement for travel charges during the Compensation
Period associated with trips to Boston to meet with the Commission and to New York City to meet with
defendant Mark J. Varacchi (“Varacchi”) and his counsel.” SEC v. Varacchi, Case 3:17cv-00155-VAB;
Doc. 27, Filed 08/14/17, at 4. The Receiver should not bill for travel time here either “in order to
minimize expenses to the Receivership Estate.”
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completely remove these and any other travel charges from the invoice, especially as the

Receiver does not charge for travel time in other Receiverships.

       Fifth, the Receiver has continued to bill for his consideration of an appointment in the

MA Civil Matter, which has nothing to do with this matter and which is an unbelievable abuse of

the Estate assets. Any consideration of an appointment in an unrelated matter is a business

decision for his law firm and cannot be paid for from the Estate. The SMK entry on 7/21/19

“Attention to withdrawal of motion re: MA Civil action” for 0.30 hours [Doc. #1330-4 at 3] and

SMK entry on 7/11/19 “Telephone conference with Mark Williams re: MA civil action” for 0.20

hours [Doc. #1330-4 at 26] must be removed from the invoices in their entirety.

       Fifth, the Receiver has spent an enormous amount of time – nearly 25 hours and billed

almost $7,000, nearly 20% of the total amount to respond to Defendant’s Motion to Terminate

the Receiver. Any Motions on behalf of the Receiver that are not in any way to the benefits or

merits of the impact on the Receivership must be removed from the invoices. Such is a business

expense for the Receiver to justify his continued appointment as Receiver and has nothing to do

with managing the Estate. This amount, which is excessive and egregious, must be removed

from the invoicing. Just as the Receiver cannot bill for any work done on his Fee Applications,

so too the Receiver cannot bill for any work done to justify his continued appointment as that is a

business expense for the Receiver and not for the Estate.

       Sixth, the Receiver has spent even more time – nearly 40 hours and billed almost

$10,000, over 25% of the total amount to deal with the eviction of the illegal tenant in

Apartment 12F. Indeed, it was the Defendant who alerted the Receiver to the absolute

unacceptability of the situation. Had the Receiver dealt with this issue prior to the expiration of

the Apartment 12F lease, there would not be additional unnecessary billings and wasted

resources on this issue. Indeed, the Receiver unbelievably states that the “occupants of
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Apartment 12F… unexpectedly stayed passed [sic] the end of their lease term of July 14, 2019.”

(emphasis added) [Doc. #1330 at 17]. Yet, the Receiver knew and allowed the illegal tenant to

stay past the expiration of the lease term on July 14th, 2019:

        (1) The Receiver blatantly ignored the building management’s request on June 17th, 2019
            asking if the tenant had renewed the lease. The Receiver should have at this time,
            communicated with the tenant and confirmed the expiration of the lease and vacancy
            of the Apartment 12F on July 15th. Yet, the Receiver completely mismanaged the
            entire matter with the illegal tenant in Apartment 12F by not communicating with the
            tenant.

        (2) The Receiver deliberately answered the building management’s next query on July
            26th, 2019 by stating that “[T]he Receiver will provide a copy of the renewal lease if
            such a renewal lease is entered into.”

        (3) The Receiver knew that the illegal tenant had stayed beyond the July 14th expiration
            as he was “[C]ontemplating that the 12F Occupants would vacate Apartment 12F
            since the term of their lease had just days earlier ended (on July 14, 2019)…” [Doc.
            #1249 at 4]. Tenants do not leave after the lease expires, but rather before the lease
            expires. The Receiver’s statement makes no sense at all, but shows that he absolutely
            knew and condoned the illegal tenant staying beyond the lease, contrary to his
            statement that the tenant “unexpectedly” stayed beyond the lease expiration.

        (4) The Receiver accepted a check from the illegal tenant dated July 9, 2019 – beyond the
            June 15th rental deadline for the time period of June 15th – July 15th or ahead of the
            July 15th expiration of lease. He accepted this check as “use and occupancy.” Thus,
            the Receiver very well knew that the illegal tenant had stayed beyond the expiration
            of the lease.

        The Receiver did not communicate any of this to the Defendant at all or to the Relief

Defendants until he was confronted by them on this issue. The Receiver has completely

mismanaged the entire situation with the illegal tenant in Apartment 12F and that has caused

significant loss to the Estate (indeed, the illegal tenant is still squatting in the apartment, there

has been no payment since July 2019 (and it is now December 2019) and there has had to be a

retention of an eviction lawyer to deal with this situation) and the Defendant has no idea where

the eviction process stands.




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       In addition, there are no details around the DAA entry on 8/6/19 “Deposit 12F checks at

BoA” [Doc. 1330-4 at 23] – what 12F checks are these? Why aren’t these apartment checks

being deposited in a timely manner? The rental checks from the illegal tenant in 12F were due by

the 15th of every month and his lease expired July 15th, 2019. In a prior filing, the Receiver

stated that he received a rental check in the middle of July 2019. Yet that is being deposited

weeks later? And how many checks? These checks should be deposited within days of receipt,

not weeks or months later.

       Seventh, the Receiver has spent nearly seven (7) hours and charged the Defendant nearly

$1,700 to oppose the Relief Defendants’ motion to immediately rent the two apartments. [Doc.

#1220] This is akin to the Receiver charging the Defendant so that he can cause significant losses

to the Estate. Apartment 12A has been vacant since October 1, 2018. That is a loss of at least

$420,000 in rental income to date (and counting) on this apartment alone because it is vacant and

the Receiver opposes renting the apartment. And even with respect to Apartment 12F, the

Receiver has not gotten any rental income from the illegal tenant since July 2019, which means a

further loss of nearly $100,000 and counting. It is absurd and astounding that the Receiver is

invoicing the Defendant to lose the Estate more money. Clearly the Receiver has no idea how to

manage these properties and the Estate – the apartments can be rented for a short-term time

period and should have been when the Receiver was first appointed. Instead, the Receiver has

continuously opposed renting the apartments, costing the Estate a significant amount – to the

amount of over half a million dollars and counting – of lost rental income.

       Eighth, the Receiver has spent nearly 10 hours and billed almost $2,400 to deal with the

transfer of the Harry Winston earrings from Harris St. Laurent (“HS”) to his custody and control.

It is absurd that again, it is the Defendant who alerted the Receiver in the summer 2019 to the

situation that the earrings must be under his custody and not HS’ custody. Because the Receiver
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dropped the ball in dealing with this issue when he was first appointed, it is costing the Estate a

significant amount of money to deal with this issue now. And it is still not resolved.

          Ninth, in yet another example where the Receiver has been reactive instead of proactive,

he has spent nearly twelve (12) hours and nearly $2,700 on trying to resolve the unauthorized

trades in Ms. Ahmed’s Fidelity accounts. The Receiver was appointed to manage the assets and

part of that includes checking with each firm ahead of time when the Receiver was first

appointed a year ago in December 2018 with the safeguards the firms have in place and ensuring

that they understood the Court’s Orders regarding no trades without Court Order. Indeed, not

one unauthorized trade happened prior to the Receiver being appointed. Had the Receiver been

proactive instead of reactive, we would not be in this situation.

          Tenth, the Receiver continuously misstates that “the primary objective of this

receivership is to liquidate assets to secure the Judgment pending appeals” [Doc. #1330 at 16].

That is but one of the objectives and is the last one listed: “given the need to value the frozen

assets and avoid over-freezing, to secure the Judgment for the SEC, to manage and maximize the

value of the frozen assets… and to take necessary steps toward effectuating the judgment…”

[Doc. #1070 at 5]. Indeed, the Receiver has a duty to manage and maximize the value of the

frozen assets and opposing the rental of the apartments has done the exact opposite. Again, it is

entirely premature at this point to speculate about selling the apartments and is against the

“wishes of the Defendant and Relief Defendants.” [Doc. #1070 at 7] This Court has made it clear

that only “[I]f subsequently ordered by the Court… and with due regard for the interests of the

Defendant and the Relief Defendants…” [Doc. #1070 at 14]. The Receiver unbelievably

continues to usurp judicial functions from the Court. See Weil v. Neary, 278 U.S. 160 (1929).

(Condemning undisclosed fee sharing arrangement as taking the judicial function from the

court).
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       The Receiver continues to misunderstand his mandate and erroneously maintains that the

“primary objective of this receivership is to liquidate assets…” [Doc. #1330 at 16] – this is

simply one of the objectives of the Receivership, but certainly not the primary objective.

Nowhere has the Court ever stated that any liquidation is the primary objective of the

Receivership and it is simply astonishing that the Receiver unilaterally presumes so.

       The Court must remove these charges from the invoice as they simply unnecessarily

drain the assets of the Estate, especially before the Court has made any liquidation rulings and

now with the stay of liquation in place [Doc. #1346].

       Eleventh, the Receiver continues to spend time responding to the HS’ firm’s various

motions for fees (which is in itself excessive at this point). The Receiver has billed nearly $550

on this issue and the Defendant should not be paying for this at all. The Defendant has already

stated his Opposition to the payment of certain fees to certain of the Relief Defendants’ counsel

and there is no reason why the Receiver should be paying any attention to this issue when it is

the Defendant’s assets that are being considered for this – the Defendant makes the sole decision

on his assets, especially on those amounts over the Judgment amount.10

       Twelfth, the Receiver continues to spend an unnecessary number of hours on tax issues

and has billed over $4,200 – over 10% of the total amount invoiced – when he has already

“concluded based upon the dollar amount and limited nature of the Receivership Estate… that he

is not required to submit separate tax returns for the Defendant or the Relief Defendants.” [Doc.

#1160 at 24]. There is no reason for the Receiver to have anything to do with the Defendant and

the Relief Defendants’ tax returns and the Receiver himself admits that “he had no obligations to



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  Should it be determined that these assets belong to the Relief Defendants (as Defendant has long
maintained), then the Relief Defendants are free to do whatever they wish with their assets. The
Defendant has already consented to a payment of $350,000 to Murtha Cullina and $350,000 to Jenner &
Block for Relief Defendants’ appellate representation.
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submit tax returns on behalf of the Defendant… the Receiver had no obligation to submit tax

returns on behalf of the Relief Defendants or other taxable entities that are Receivership Assets.”

[Doc. #1330 at 21]. Neither the Defendant nor the Relief Defendants have tax counsel and the

Receiver has no right or entitlement to view any of their tax returns, especially as he admits the

“strong statutory protections that afford significant privacy to a person’s tax returns” [Doc. 1330

at 21]. Should the Receiver continue to waste and unnecessarily spend time on this issue, funds

must be released for the Defendant and the Relief Defendants to consult with tax counsel prior to

the release of any of their tax returns to anyone.

       The Receiver is presumably experienced as a Receiver and there is no need, once he has

concluded that he does not need to file taxes for the Defendant and Relief Defendants, that he

continues to have discussions, research, and draft motions on such topic and continue to bill the

Defendant for it. Any amount related to taxes must be removed from the invoicing.

       Thus, these unnecessary amounts listed here add up to over 70% of the amount invoiced

and must be removed from the billing. The amount invoiced for this time period is excessive and

unjustified. If the Court still feels that this should be paid, then it must be paid from the within

the Judgment and/or paid by the SEC.

       These are just many examples of why the Defendant opposes any payment of fees to the

Receiver. See Code Prods. Corp., 362 F.2d at 673 (“In allowing fees the considerations are the

time, labor and skill required, but not necessarily that actually expended, in the proper

performance of the duties imposed by the court upon the receivers, the fair value of such time,

labor and skill measured by conservative business standards, the degree of activity, integrity and

dispatch with which the work is conducted and the result obtained.”). A full (but expensive and

unnecessary) audit of the Receiver’s timekeeping and records – which the Defendant is happy to



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do himself for the Court should the Court request it – will likely reveal many such excessive and

unnecessary invoicing and unjustified expenses incurred by the Receiver.


       3.        Doc. #1330-4, or Exhibit D-6:

       The pro se Defendant consents to the payment of $2,555.00 (Two Thousand, Five

Hundred, Fifty-Five Dollars only) to Mitofsky, Shapiro, Neville & Hazen, LLP (“MSNH”) from

the rental proceeds of Apartment 12F only. However, to date, there has been no agreement

for date of eviction nor has any information related to eviction proceedings been relayed to the

Defendant and most of the amount invoiced is simply discussions between the Receiver and

MSNH. The Defendant reserves the right to oppose continued payment to MSNH if there is no

progress towards the eviction of the illegal tenant.



                                         CONCLUSION


       This Court should not allow the payment of excessive and unjustified fees to the Receiver

for the reasons stated herein. This Court has also been clear that “it recognizes the parties’

concerns regarding the potential cost of a receiver and shares their desire to avoid unnecessary or

high receivership costs” [Doc. #1070 at 5]. As the Defendant continues to reiterate, courts have

been very careful when granting attorney fee motions, especially those of a Receiver, who is

supposed to be retained for the benefit of the public. As stated by a Circuit Court on excessive

Receiver fees:


       “The $12,000 fee allowed appellee is more than the salary of a United States District
       Judge for an entire year. It is more than the salary of the most of the Governors or Judges
       of the Supreme Courts in the respective states of this country. In our judgment [sic] it is
       so exorbitant that its allowance must be held to be an abuse of the court's discretion. That
       there has grown up a judicial abuse in the allowance of excessive fees to masters,
       receivers, and attorneys in receivership cases cannot well be denied. The Supreme Court
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       of the United States has called attention to this and sounded a note of caution and
       warning to the judges of the federal courts in the case of In re Gilbert, 276 U.S. 294, 296,
       48 S. Ct. 309, 310, 72 L. Ed. 580, as follows: “We were desirous of making it clear by
       our action that the judges of the courts, in fixing allowances for services to court
       officers, should be most careful, and that vicarious generosity in such a matter could
       receive no countenance.” And in Newton v. Consolidated Gas Co., 259 U.S. 101, 42 S.
       Ct. 438, 439, 66 L. Ed. 844, in passing on the compensation of a master the Supreme
       Court points out that, “The rights of those who ultimately pay must be carefully
       protected.” There seems to have developed an idea that lawyers are entitled to more
       compensation when employed in a receivership case than they would think of charging if
       employed by a private client for similar services. There is no reason for any difference in
       charges. Counsel should be allowed fair and reasonable compensation in receivership
       matters. There is no reason why they should be overpaid.” (emphasis added).

                               Federal Oil Marketing Corporation v. Cravens, 46 F.2d 938, 943
                               (8th Cir. 1931).


       The same is absolutely true in this instant case. The Receiver has not shown that the fees

and expenses he incurred from July 1, 2019 through September 30, 2019 were a productive use

of the Estate’s assets, or that they were cost-efficient and ultimately beneficial to the Estate. If

anything, the Receiver has mismanaged the assets, causing a significant loss to the Estate and has

been reactive instead of proactive. Given the Court’s understanding and desire to “avoid

unnecessary or high receivership costs” and the Receiver’s mandate to “manage and maximize

the value of frozen assets” [Doc. #1070 at 5] with the “dual objects of maximizing the value of

the assets of the Receivership Estate and minimizing the expenses charged hereunder…” [Doc.

#1070 at 7], which he has not done, the Court should deny the Receiver’s Third Application.



       WHEREFORE, the Defendant humbly requests the esteemed Court deny the Receiver’s

Third Application; or in the alternative, impose an additional 70% discount and a 100% holdback

until the conclusion of all appeals in this case, and for any such fees to be paid from within the

judgment by those parties that are benefiting from the appointment of Receiver and not the



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Defendant.



                                      Respectfully Submitted,



Dated:         November 30TH, 2019    /s/ Iftikar Ahmed
                                      ____________________________
                                      Iftikar A. Ahmed
                                      C/O Advocate Anil Sharma
                                      Government Place East
                                      Kolkata 700 069, India

                                      Tel: +91-983-008-9945
                                      e-mail: iftyahmed@icloud.com

                                      Pro Se




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                               CERTIFICATE OF SERVICE




       I hereby certify that a copy of the foregoing document was filed through the ECF system
and will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF), and served by electronic mail to:




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Byron G. Rogers Federal Building                Byron G. Rogers Federal Building
1961 Stout Street, Ste. 1700                    1961 Stout Street, Ste. 1700
Denver, CO 80294                                Denver, CO 80294
(303) 844-1071                                  (303) 844-1027
e-mail: heinken@sec.gov                         e-mail: williamsml@sec.gov




MR. PAUL E. KNAG, ESQ.                          MS. KRISTEN LUISE ZAEHRINGER, ESQ.
Murtha Cullina, LLP                             Murtha Cullina, LLP
177 Broad Street, 4th Floor                     177 Broad Street, 4th Floor
Stamford, CT 06901                              Stamford, CT 06901
(203) 653-5400                                  (203) 653-5406
Fax: (203) 653-5444                             Fax: (860) 240-5758
e-mail: pknag@murthalaw.com                     e-mail: kzaehringer@murthalaw.com




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